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                       UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

IN RE:                                           )     CHAPTER 7
                                                 )
DANIEL LEON WATKINS and                          )     CASE NO. 12-73375
DONNA KAY WATKINS,                               )
         DEBTORS                                 )

                                  MOTION TO REOPEN

       COMES NOW Nancy J. Gargula, United States Trustee for Region 21, and,

pursuant to Bankruptcy Code section 350(b) and Federal Rule of Bankruptcy Procedure

5010, moves the Court to reopen this case. In support of this motion, the United States

Trustee shows as follows.

                                            1.

       Daniel and Donna Watkins commenced this case on September 19, 2012, by filing

a petition for relief under chapter 7.

                                            2.

       Janet G. Watts was appointed and served as chapter 7 trustee.

                                            3.

       On November 13, 2012, Ms. Watts filed a report of no distribution based on

information known to her at that time.

                                            4.

       On September 17, 2013, the Court granted a discharge to the debtors (Dkt #46).

The estate was closed on September 18, 2013.
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                                               5.

       ARCHER Systems, LLC, has notified the United States Trustee that one of the

debtors, Donna Kay Watkins, is entitled to receive a monetary award for a pre-petition

personal injury claim relating to a medical device first implanted February 4, 2006.

                                               6.

       Bankruptcy Code section 350 authorizes the Court to reopen a case to administer

assets, to accord relief to the debtor, or for other cause.

                                               7.

       It appears the claim would be property of the estate and that administration of the

asset might result in a meaningful distribution to unsecured creditors.

                                               8.

       Federal Rule of Bankruptcy Procedure 5010 provides that a case may be reopened

on motion of the debtor or other party in interest. The United States Trustee is a party in

interest and has standing to raise, appear, and be heard on any issue in any case. 11

U.S.C. § 307.

                                               9.

       The United States Trustee requests the Court reopen the case and direct the United

State Trustee to appoint a trustee who can investigate and, if appropriate, administer

assets that are property of the estate.

                                              10.

        Pursuant to the Bankruptcy Court Miscellaneous Fee Schedule, effective
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September 1, 2018, the United States Trustee should not be charged with the fee for

reopening this case.

       WHEREFORE, the United States Trustee moves the Court reopen this case and

direct the United States Trustee to appoint a chapter 7 trustee.

       Dated: April 1, 2020
                                                  NANCY J. GARGULA

                                                  United States Trustee, Region 21

                                                   s/ Shawna Staton
                                                   Shawna P.Y. Staton, Trial Attorney
                                                   Georgia Bar No. 640220
                                                   United States Department of Justice
                                                   Office of the United States Trustee
                                                   362 Richard B. Russell Building
                                                   75 Ted Turner Drive, S.W.
                                                   Atlanta, Georgia 30303
                                                   (404) 331-4437
                                                   shawna.p.staton@usdoj.gov

                                CERTIFICATE OF SERVICE

       I hereby certify that on April 1, 2020, I served a copy of this motion upon the following
persons by First Class United States Mail, postage prepaid, addressed as follows.

Daniel Leon Watkins
4701 Vermack Ridge
Dunwoody, GA 30338

Daniel Leon Watkins
4521 Crossgate Road
Chester, VA 23831

Donna Kay Watkins
4701 Vermack Ridge
Dunwoody, GA 30338

Donna Kay Watkins
4521 Crossgate Road
Chester, VA 23831
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Howard P. Slomka
Slipakoff & Slomka, PC
Suite 2100
3350 Riverwood Parkway
Atlanta, GA 30339

Jeffrey J. Lowe
Carey, Danis & Lowe
8235 Forsyth Blvd., Suite 1100
St. Louis, MO 63105

Consuelo Vega
ARCHER Systems, LLC
1775 St. James Place, Suite 200
Houston, TX 77056

                                                 s/ Shawna Staton
                                                 Shawna P.Y. Staton
